Case 2:02-cr-20480-.]P|\/| Document 98 Filed 04/28/05 Page 1 of 2 Page|D 96

UNITED sTATEs DIsTRICT CoURT _¢n
wEsTERN DISTRICT oF TENNESSEE §':.§-1§§ F:F_§ t§§ ‘ = § k
Western Division

 

.' .:. `._Jl -i_!' \_...h -.»‘

“ § “3. F`i‘é.i`". §§ i`.

UNITED STATES OF AMERICA §, iii »ti§F§-§§t§
-vs- Case No. 2:02cr20480-2-Ml

ADAM HOGELAND

 

ORDER OF DETENTION PEND|NG REVOCAT|ON
F|ND|NGS
In accordance with the Bail Reform Act, 18 U.S.C, § 3142(3, a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time, A motion for conditions
of release and a detention hearing may be filed at a later date.

DlRECT|ONS REGARDING DETENT|ON

ADAM HOGELAND is committed to the custody of the Attorney General or his designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences
or being held in custody pending appeal ADAM HOGELAND shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

l_A/\__,:PQO’\
Date: April 27, 2005

TU M. PHAM
UNITED STATES MAGISTRATE IUDGE

 

This document entered on the docket fleet in compliance ;`;
with Flule 55 and/or 32(b) FRCrP on ‘Z vii §§

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 98 in
case 2:02-CR-20480 was distributed by faX, mail, or direct printing on
Apri129, 2005 to the parties listed.

 

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Robert C. Irby

LAW OFFICE OF ROBERT C. IRBY
4345 E. Mallory

l\/lemphis7 TN 38111

Honorable .l on McCalla
US DISTRICT COURT

